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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            EL PASO DIVISION

      LEAGUE OF UNITED                           §
      LATIN AMERICAN                             §
      CITIZENS, et al.,                          §
                                                 §
                       Plaintiffs,               §
                                                 §
                                                        EP-21-CV-00259-DCG-JES-
      EDDIE BERNICE                              §
                                                                  JVB
      JOHNSON, et al.,                           §
                                                               [Lead Case]
                                                 §
                       Plaintiff-                §
                                                                        &
                       Intervenors,              §
      v.                                         §
                                                           All Consolidated Cases
                                                 §
      GREG ABBOTT, in his official               §
      capacity as Governor of the                §
      State of Texas, et al.,                    §
                                                 §
                       Defendants.               §

                   MEMORANDUM OPINION AND ORDER

               The United States and a legion of private plaintiffs have alleged that
     the redistricting plans enacted by Texas following the 2020 census violate the
     Voting Rights Act (“VRA”), 52 U.S.C. § 10301, and the United States
     Constitution.
               Before this Court are Texas’s motions to dismiss the Fair Maps
     plaintiffs’ and the Bacy1 plaintiffs’ respective Supplemental Complaints. See




           1
               Formerly the “Abuabara” plaintiffs. Plaintiff Rosalinda Ramos Abuabara moved
               to dismiss her claims on July 9, 2024. The remaining “Abuabara Plaintiffs”—now
               the “Bacy Plaintiffs”—continue to pursue the claims in their Third Amended
               Complaint (ECF No. 613) and Supplemental Complaint (ECF No. 765). See ECF
               No. 795.
                                                 1
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     ECF No. 779 (Fair Maps); ECF No. 785 (Bacy).2 At the time the plaintiffs
     sued Texas, and at the time that Texas filed its motions to dismiss, this court
     reviewed claims brought under Section 2 of the VRA under the legal
     framework established by Campos v. City of Baytown, Tex., 840 F.2d 1240 (5th
     Cir. 1988), overruled by Petteway v. Galveston Cnty., 111 F.4th 596 (5th Cir.
     2024) (en banc). Campos held that Section 2 of the VRA authorized
     “coalitions of racial and language minorities to claim vote dilution in
     legislative redistricting.” Petteway, 111 F.4th at 599. Bacy and Fair Maps’s
     Complaints reflect that legal standard.3
            The en banc Fifth Circuit has since overturned Campos, holding that
     “Section 2 does not require political subdivisions to draw precinct lines for
     the electoral benefit of distinct minority groups that share political
     preferences but lack the cementing force of race or ethnicity.” Petteway, 111
     F.4th at 614. At this Court’s direction, see ECF No. 810, the parties have
     submitted supplemental briefing to address the effect of Petteway on Texas’s
     motions to dismiss.4 Texas moves to dismiss the plaintiffs’ Section 2 claims
     under either Federal Rule of Civil Procedure 12(b)(1) for presenting a non-
     justiciable political question or under Rule 12(b)(6) for failure to state claim.5
            For the reasons that follow, the Court GRANTS IN PART and
     DENIES IN PART Texas’s motions to dismiss. The claims subject to
     dismissal are dismissed without prejudice, and we grant leave to Bacy and
     Fair Maps to amend the entirety of their operative Complaints to clarify
     which of their claims comply with Petteway.6




        2
            For simplicity, the Court refers to each group of plaintiffs as “Bacy” and,
            separately, “Fair Maps.” The Court refers to both groups collectively as “the
            plaintiffs.”
        3
            See, e.g., ECF No. 765 ¶ 14; ECF No. 777 ¶ 18.
        4
            See ECF Nos. 814, 815, 816, 823, 824, 827.
        5
            See ECF No. 779 at 19–20; ECF No. 785 at 14–15.
        6
            Judge Guaderrama respectfully dissents from portions of this Memorandum
            Opinion and Order and will soon issue an opinion concurring in part and dissenting
            in part. The panel unanimously agrees to release the majority opinion by itself now,
            so that the case may proceed while Judge Guaderrama drafts his opinion.
                                                 2
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                                    I. Standards of Review
            Rule 12(b)(1) allows parties to move to dismiss an action for lack of
     subject-matter jurisdiction. Fed. R. Civ. P. 12(b)(1). “The concept of
     justiciability, as embodied in the political question doctrine, expresses the
     jurisdictional limitations imposed upon federal courts by the ‘case or
     controversy’ requirement of Article III.” Spectrum Stores, Inc. v. Citgo
     Petroleum Corp., 632 F.3d 938, 948 (5th Cir. 2011) (cleaned up). In the
     context of voting rights claims, courts are “not responsible for vindicating
     generalized partisan preferences” because a court’s “constitutionally
     prescribed role is to vindicate the individual rights of the people appearing
     before it.” Rucho v. Common Cause, 588 U.S. 684, 709 (2019) (citation
     omitted). As a result, partisan gerrymandering claims present nonjusticiable
     political questions. Id.7
            Rule 12(b)(6) allows parties to move to dismiss an action for failure to
     state a claim. Fed. R. Civ. P. 12(b)(6). To survive a 12(b)(6) motion, a
     plaintiff must plead facts sufficient to “state a claim to relief that is plausible
     on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
     Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is facially plausible
     when well-pleaded facts allow the court reasonably to infer that the defendant
     is liable for the alleged conduct. Id. “But we do not ‘presume true a number
     of categories of statements, including legal conclusions; mere labels;
     threadbare recitals of the elements of a cause of action; conclusory
     statements; and naked assertions devoid of further factual enhancement.’”
     Johnson v. Harris Cnty., 83 F.4th 941, 945 (5th Cir. 2023) (quoting Armstrong
     v. Ashley, 60 F.4th 262, 269 (5th Cir. 2023)).
                                 II. The Parties’ Contentions
            Texas observes that the plaintiffs rely on coalitions of racial or ethnic
     minorities. It avers that such coalitions do not give rise to viable vote-dilution
     claims under Section 2 of the Voting Rights Act for two reasons. First, such

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            Texas asks this court to apply this nonjusticiability standard to the plaintiffs’ race-
            based coalition claims to the extent that such claims are effectively political
            gerrymandering claims. See ECF No. 779 at 19–20; ECF No. 785 at 14–15.
                                                  3
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     claims present “nonjusticiable political questions” by asking the court to
     “impose . . . electoral districts that give an upper hand to political cohorts
     with no shared history of discrimination.”8 Second, such claims fail to allege
     facts “that would, if proven, establish that the districts drawn by the 88th
     Legislature render the voting process ‘not equally open to participation by
     members of a class of [protected] citizens.’”9 Petteway speaks directly to this
     second argument and is the basis of the Court’s analysis of Texas’s motions
     to dismiss the plaintiffs’ coalition-based vote-dilution claims.
             Separate from the legal challenges Texas raises about the plaintiffs’
     coalition-based vote-dilution claims post-Petteway, Texas moves to dismiss
     Fair Maps’s discriminatory intent claim. Texas avers that Fair Maps failed
     sufficiently to allege that the 88th Legislature acted with discriminatory
     intent in violation of the Fourteenth and Fifteenth Amendments when it
     ratified the challenged districts. See ECF No. 779 at 3–6.
             The plaintiffs resist those conclusions. Bacy first asserts that Texas’s
     motion to dismiss is untimely and therefore procedurally improper. See ECF
     No. 789 at 4–7. Next, the plaintiffs posit that coalition districts are cognizable
     under Section 2 of the VRA. See ECF No. 788 at 9–19; ECF No. 789 at 3–
     4.10 Bacy also argues that its claims do not rely on coalition districts. See ECF
     No. 789 at 7–8. Lastly, Fair Maps responds that its existing allegations
     sufficiently plead discriminatory intent. See ECF No. 788 at 4–9.
                       III. Procedural Propriety of Texas’s Motions
             Texas moves to dismiss under Rule 12(b)(1) for “lack of subject
     matter jurisdiction” and under Rule 12(b)(6) for failure to state a claim.
     Fed. R. Civ. P. 12(b)(1), (6). Because Bacy posits that Texas’s motion to
     dismiss is untimely, see ECF No. 789 at 4–7, the Court considers the motion’s
     procedural propriety under each rule in turn.


        8
             ECF No. 779 at 1–2; see ECF No. 785 at 1.
        9
             ECF No. 779 at 1 (quoting 52 U.S.C. § 10301(b)) (alteration in original); see ECF
             No. 785 at 1.
        10
             As noted above, those filings were submitted pre-Petteway, when the Fifth Circuit
             still recognized Section 2 claims that relied on coalitions of racial minorities.
                                                4
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             Texas’s motions seek dismissal under Rule 12(b)(1) because,
     according to Texas, both plaintiffs’ Complaints “present[] a non-justiciable
     political question.”11 Texas argues that the plaintiffs’ race-based coalition
     claims are functionally equivalent to partisan gerrymandering claims, which
     are nonjusticiable political questions under Rucho.                    588 U.S. at 709.
     “Because the political question doctrine is jurisdictional, we address it
     first.”12 Because “[a] court must dismiss [an] action” if it “determines at
     any time that it lacks subject-matter jurisdiction,” Fed. R. Civ. P.
     12(h)(3), Texas’s motion to dismiss under Rule 12(b)(1) is not untimely.
             But the Court declines to find that race-based coalition claims are
     necessarily nonjusticiable political questions at this stage and, accordingly,
     rejects Texas’s attempt to dismiss the plaintiffs’ claims under Rule 12(b)(1).
     Although the en banc Fifth Circuit in Petteway observes minority coalition
     claims may raise “quintessentially political” questions like those “raised by
     political gerrymandering,” the en banc Fifth Circuit did not base its
     invalidation of minority coalition claims on nonjusticiability grounds.
     Petteway, 111 F.4th at 611–12.13 Accordingly, this Court declines to dismiss
     the plaintiffs’ race-based coalition claims on those grounds.
             Texas also seeks dismissal under Rule 12(b)(6). Bacy asserts that
     Texas’s motion to dismiss is untimely and therefore procedurally improper


        11
             See ECF No. 785 at 14; ECF No. 779 at 1–2 (averring that coalition district claims
             present “nonjusticiable political questions” by asking the court to “impose . . .
             electoral districts that give an upper hand to political cohorts with no shared history
             of discrimination”).
        12
             Spectrum Stores, 632 F.3d at 943; see also Howery v. Allstate Ins. Co., 243 F.3d 912,
             919 (5th Cir. 2001) (noting that “federal courts must address jurisdictional
             questions whenever they are raised”). Moreover, Rule 12(b)(1) dismissals are not
             waivable. See Fed. R. Civ. P. 12(h)(1) (“A party waives any defense listed in
             Rule 12(b)(2)–(5) . . . .”).
        13
             Further, the “quintessentially political” claims that the Petteway court deemed
             “not susceptible of judicial decisionmaking” were “minority coalition claims.”
             Petteway, 111 F.4th at 611–12 (emphasis added). As discussed below, while the
             plaintiffs’ coalition-based claims must be dismissed post-Petteway, the plaintiffs’
             claims are cognizable—and thus can survive dismissal—to the extent that they
             allege Section 2 violations against distinct racial minorities. See generally Allen v.
             Milligan, 599 U.S. 1, 17–19 (2023).
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     because Bacy perceives that the motion’s “real target” is “[its] . . . Third
     Amended Complaint,” which Texas answered back in 2022. ECF No. 789
     at 5 (citations omitted). Furthermore, Bacy notes that Texas’s motion was
     filed 56 days after the Supplemental Complaint’s filing. In Bacy’s view, the
     motion should have been due, at most, within “21 days after filing of the
     Supplemental Complaint.” Id. at 6.
             A 12(b)(6) motion generally cannot be filed after an answer has been
     submitted. See Fed. R. Civ. P. 12(b). But because Rule 12(h)(2) provides
     that “[a] defense of failure to state a claim upon which relief can be granted”
     may be advanced in a motion for judgment on the pleadings under Rule 12(c),
     we will treat Texas’s motions as if they had been styled a 12(c) motion. See
     generally Westcott v. City of Omaha, 901 F.2d 1486, 1488 (8th Cir. 1990).
     “This distinction is purely formal, because we review this 12(c) motion under
     the standard that governs 12(b)(6) motions.” Id.14 We thus find Texas’s
     motions timely, as styled under 12(c), and proceed to the motions’ merits.15
                              IV. Discriminatory Effect Claims
             Texas contends that coalition-district vote-dilution claims are not
     cognizable under Section 2 of the VRA.16                  Texas’s position has been
     bolstered by Petteway, in which the en banc Fifth Circuit held that “Section
     2 of the [VRA] does not authorize separately protected minority groups to
     aggregate their populations for purposes of a vote dilution claim.” 111 F.4th
     at 603. As the court explained, such coalition-minority claims are, inter alia,
     “inconsistent with the text of Section 2,” “inconsistent with Supreme Court

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             Accord Great Plains Tr. Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 313
             n.8 (5th Cir. 2002) (“Rule 12(b)(6) decisions appropriately guide the application
             of Rule 12(c) because the standards for deciding motions under both rules are the
             same.”). Because we consider Texas’s Rule 12(b)(6) motion as a Rule 12(c)
             motion for judgment on the pleadings, we reject Fair Maps’s contention that we
             should not address the application of Petteway at this stage of the litigation. See
             ECF No. 816 at 1–3.
        15
             Texas does not oppose this recharacterization. See ECF No. 797 at 5.
        16
             Specifically, Texas posits that such claims (1) find no support in Section 2’s text;
             (2) clash with historic and statutory context; (3) exacerbate minority-vote dilution
             and race-based distinctions; and (4) create inefficiencies by incentivizing needless,
             resource-intensive litigation. See ECF No. 779 at 7–22; ECF No. 785 at 2–13.
                                                  6
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     cases rejecting similar ‘sub-majority’ vote dilution claims,” and in “tension
     with the proviso against proportional representation and with the purposes
     of the [VRA].” Id. Thus, “Section 2 does not require political subdivisions
     to draw precinct lines for the electoral benefit of distinct minority groups that
     share political preferences but lack the cementing force of race or ethnicity.”
     Id. at 614.
             As we have recognized at a prior stage in this litigation, we are bound
     by the decisions of the Fifth Circuit. League of United Latin Am. Citizens v.
     Abbott, 604 F. Supp. 3d 463, 492–93 (W.D. Tex. 2022).17 We adhere to that
     decision under the law of the case doctrine.18 So the question is which of the
     Bacy and Fair Maps claims survive Petteway.19
             A.      Bacy
             Only one Bacy claim clearly warrants dismissal at this stage. Bacy
     acknowledges that its challenge to the Texas House map in Tarrant County
     “depend[s] on a coalition district” as it “turns on the allegation that an
     additional majority Black and Latino House district could be drawn.” ECF
     No. 789 at 7–8 (citing ECF No. 613 ¶ 193); see also ECF No. 814 at 1. That
     challenge is unsustainable post-Petteway, as it “circumvent[s] the majority-
     minority requirement by forming a political coalition composed of distinct
     racial groups.” 111 F.4th at 611. Dismissal of that challenge is proper.


        17
             ECF No. 307 at 27–28.
        18
             Contra the suggestion of Fair Maps, it is not “an open question whether this Court
             is even bound by Petteway.” ECF No. 816 at 2. “The law of the case posits that
             when a court decides upon a rule of law, that decision should continue to govern
             the same issues in subsequent stages of the same case.” U.S. v. O’Keefe, 169 F.3d
             281, 283 (5th Cir. 1999) (cleaned up). While this court “has the power to revisit
             prior decisions of its own . . . courts should be loath to do so in the absence of
             extraordinary circumstances such as where the initial decision was clearly
             erroneous and would work a manifest injustice.” Id. (quotation omitted). Our
             prior decision that we are bound by rulings of the Fifth Circuit was not clearly
             erroneous or unjust, so we decline to depart from that decision now. See also Russell
             v. Hathaway, 423 F. Supp. 833, 835 (N.D. Tex. 1976) (three-judge panel)
             (recognizing that a “three-judge court is bound by apposite decisions of the Court
             of Appeals for its circuit”).
        19
             We do not here address the claims brought by the Brooks plaintiffs, the Intervenor
             plaintiffs, or the NAACP plaintiffs.
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             The remainder of Bacy’s challenges, however, could potentially
     survive Petteway. To be sure, Bacy acknowledges that both Counts in its
     Supplemental Complaint expressly allege theories of vote-dilution based on
     coalition districts. See ECF No. 789 at 7–8. Count One alleges, inter alia,
     that “the Dallas-Fort Worth and Houston metropolitan areas” could each
     “allow for an additional [congressional] district . . . in which Black and Latino
     eligible voters are, together, a majority of eligible voters.” ECF No. 613 ¶ 253
     (emphasis added). Count Two similarly alleges that Section 2 requires the
     creation of “an additional Texas House district in Tarrant County in which
     Black and Latino Texans together have a reasonable opportunity to elect their
     candidates of choice.” Id. ¶ 263 (emphasis added).
             But for those claims, coalition-based districts were included as
     “alternative, coalition demonstrative districts.” ECF No. 789 at 7. Indeed,
     Bacy also alleged that “additional, majority-Latino . . . district[s] could be
     drawn.” Id.20 So while “alternative . . . demonstrative districts” reliant on
     coalitions of disparate racial groups do Bacy no good post-Petteway, Bacy’s
     claims survive dismissal to the extent that they plausibly allege that a single
     racial or ethnic group can constitute a majority in the proposed district. See
     Valdespino v. Alamo Heights Indep. Sch. Dist., 168 F.3d 848, 853 (5th Cir.
     1999). Bacy is allowed to plead in the alternative, and where “a party makes
     alternative statements, the pleading is sufficient if any one of them is
     sufficient.” Fed. R. Civ. P. 8(d)(2).
             That said, even Bacy’s alternative challenges also appear heavily
     reliant on coalition claims. Take, for instance, the allegations regarding
     Senate Bill 6 CD25. Most of the allegations supporting that challenge are
     mixed-race coalition allegations that are impermissible under Petteway. See,
     e.g., ECF No. 613 at 33 (accusing Texas of “cracking predominantly Black
     and Latino portions of Tarrant County”); id. at 34 (alleging that “White

        20
             See, e.g., ECF No. 613 ¶ 206 (proposing the creation of “a [House] district in which
             52 percent of eligible voters are Latino” in Harris County). See also ECF No. 789
             at 7 (“With respect to each of [the challenged] regions, the operative complaint
             alleges—and shows, with maps—that additional, majority Latino citizen-voting-
             age population congressional districts could be drawn.” (citation omitted)).
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     voters in Enacted CD25 consistently vote as a bloc in opposition to Black and
     Latino voters’ preferred candidates”); id. at 35 (proposing “a 58.1 percent
     Black and Latino district”); id. (proposing “a 53.1 percent Black and Latino
     district”) (emphases added). We draw all inferences in Bacy’s favor at the
     motion to dismiss stage, but we emphasize that by declining to dismiss Bacy’s
     claims at this stage, we do not hold that those claims will satisfy Petteway.
             We accordingly grant in party and deny in part Texas’s motion to
     dismiss Bacy’s Complaint, and grant Bacy leave to amend the Complaint to
     clarify which claims, alternative or otherwise, clearly survive Petteway.
             B.     Fair Maps
             We apply the same rationale to Fair Maps’s claims. Count One of Fair
     Maps’s Supplemental Complaint21 alleges that “Defendants violated Section
     2 by failing to create minority opportunity districts, including coalition
     districts, in Harris and/or Fort Bend Counties in Plans H2316, S2168, and
     C2198; the Dallas-Fort Worth area in Plan C2198; Collin County in Plan
     H2316; Bell County in Plan H2316; and Tarrant County in Plan S2168.”
     ECF No. 502 ¶ 180 (emphasis added). Any of Fair Maps’s challenges to
     these plans that rely on coalitions of minority voters must be dismissed.
             We start with Fair Maps’s challenge to the Texas House plans. See
     id. at 28–43. Fair Maps alleges violations in Fort Bend, Bell, and Collin
     Counties. Its challenge to the Texas House map in Bell County alleges that
     “a majority Black district” could have been drawn “in House District 54.”
     Id. ¶ 110. So Fair Maps’s challenge to the Bell County House map could
     survive dismissal to the extent that the black residents of Bell County alone
     could constitute a Citizen Voting Age Population (“CVAP”) majority. But
     the proposed District 54 mentioned in Paragraph 110 is an alternative plan
     that failed in the legislature. Fair Maps’s proposed alternative District 54 is
     only 35.1% black. See id. at 37. That proposed District 54 only becomes a
     majority-minority District (64.6%) after aggregating a coalition of Latino
     voters (22.1%), black voters (35.1%), and Asian voters (4.7%). Id. Because this

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             Fair Maps incorporates by reference its Second Amended Complaint. See ECF
             No. 777 ¶¶ 21–22; see also ECF No. 502.
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     proposal is unsustainable post-Petteway, it must be dismissed.
            Fair Maps’s challenges to the Fort Bend and Collin Counties also
     must be dismissed. All those claims fail post-Petteway because none of the
     demonstrative districts for those counties contains a sufficiently large
     number of a single racial or ethnic group. See id. at 33 (Fort Bend) and 42
     (Collin).
            We turn to Fair Maps’s challenge to the Texas Senate map. See id. at
     43–53. Fair Maps alleges violations in Fort Bend and Tarrant Counties. Fair
     Maps posits that enacted District 13 in Fort Bend County “purposefully
     cracked the AAPI community into Senate Districts 13, 17, and 18” and thus
     “impermissibly dilute[d] the voting power of minority voters.” Id. at ¶ 132,
     135. But Fair Maps’s demonstrative districts for Fort Bend County only
     show one district composed of a majority of one minority group—District 13.
     Enacted District 13 is already drawn as a majority-minority district. See id. at
     44. So the enacted configuration does not disperse a minority group’s
     members “into districts in which they constitute an ineffective minority of
     voters.” Cooper v. Harris, 581 U.S. 285, 292 (2017) (quoting Thornburg v.
     Gingles, 478 U.S. 30, 46 n.11 (1986)). And Fair Maps’s other proposed Fort
     Bend majority-minority district—District 17—impermissibly relies on
     coalitions of racial minorities post-Petteway. See ECF No. 502 at 48.
            Fair Maps’s Tarrant County claim fares no better. Fair Maps’s main
     charge is that “the proposed map for Senate District 10 significantly reduced
     the minority population in what was previously a coalition district.” ECF No.
     502 ¶ 141 (emphasis added). But none of the demonstrative senate districts
     that Fair Maps provides contains a sufficiently large number of a single racial
     or ethnic group. See id. at 52.
            Fair Maps’s challenge to the Congressional Redistricting Plan C2193
     also fails. Again, none of the demonstrative congressional districts that Fair
     Maps provides contains a sufficiently large number of a single racial or ethnic
     group. See id. at 57 (Harris-Fort Bend Counties) and 61 (Dallas-Fort Worth).
            In sum, all Fair Maps’s arguments rely on coalitional claims that are

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     not supportable post-Petteway. So Fair Maps’s Complaint must be dismissed
     unless it can show that the challenged maps result from “discriminatory
     intent,” which “form[s] an independent basis for liability.” Fusilier v.
     Landry, 963 F.3d 447, 463 (5th Cir. 2020). We turn to that question now.
                                V. Discriminatory Intent Claims
              Texas seeks dismissal of Fair Maps’s discriminatory intent claim,
     averring that it has failed to overcome the presumption of good faith. See
     ECF No. 779 at 2–6.22 Because Fair Maps has met its burden at the pleading
     stage, we deny Texas’s motion to dismiss Fair Maps’s discriminatory intent
     claim.
              During the pendency of this case, the 88th Legislature “reconsidered,
     ratified, and approved” the challenged plans originally enacted by the 87th
     Legislature. Id. at 3. According to Texas, that ratification fatally wounds Fair
     Maps’s claim, as any discriminatory intent “on the part of the 87th
     Legislature . . . cannot be imputed to the 88th Legislature.” Id. at 4.
              Fair Maps characterizes Texas’s argument as a “shell game
     approach” that “would allow lawmakers to commit constitutional violations
     with impunity” because it would permit the enactment of “a law motivated
     by discriminatory intent—even expressly so—as long as the same law is
     reenacted in a different legislative session, with at least some alternative
     explanation.” ECF No. 788 at 8. Fair Maps notes that (1) “alternative
     explanations for the enactment of the challenged plans” do not furnish a basis
     for dismissal and (2) it need not “demonstrate evidentiary proof to overcome
     the presumption of good faith.” Id. at 6–7.
              “[A]s we have noted previously, the difficulty of proving
     discriminatory intent does not mean that, at the pleading stage, plaintiffs
     must present an airtight case or negate alternative theories.” ECF No. 307
     at 29 (citing ECF No. 144 at 6–7). Again, “as noted previously, it is not yet
     necessary for Plaintiffs to demonstrate that the Texas legislature more likely
     than not acted with discriminatory intent. It is sufficient for Plaintiffs to point

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              The Bacy plaintiffs do not raise constitutional intentional discrimination claims.
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     to circumstantial evidence, such as procedural irregularities or apparent
     subterfuge, from which discriminatory intent can plausibly be inferred.” Id.
     at 53. The “historical background” of a legislative enactment is “one
     evidentiary source” relevant to the question of intent. Arlington Heights v.
     Metropolitan Housing Development Corp., 429 U.S. 252, 267 (1977).
             Texas avers that, as in Abbott v. Perez, the plaintiffs have asked the
     court to infer animus because the state legislature “willfully ignored those
     who pointed out deficiencies” in their plan. 585 U.S. 579, 611 (2018)
     (cleaned up); ECF No. 794 at 4. In Perez, in Texas’s telling, the Supreme
     Court refused to infer animus “because of direct and circumstantial evidence
     of an alternative explanation for why the Legislature did not accede to those
     objections,” and here, Texas continues, “there is similarly an alternative
     explanation.” ECF No. 794 at 4. Namely, that the “88th Legislature sought
     to avoid violating the Texas Constitution by failing to create state legislative
     districts during the first regular session following the decennial census.” Id.23
             But Perez is of no help to Texas at this stage of litigation. There, the
     Court specifically said that it was not “a case in which a law originally enacted
     with discriminatory intent is later reenacted by a different legislature.” 585
     U.S. at 604. But that is exactly what this case is, at least according to Fair
     Maps’s pleadings, which we accept as true at the motion to dismiss stage.24
             Further, we already rejected Texas’s previous motion to dismiss Fair


        23
             Prior to the 88th Legislature’s adoption of the challenged maps, the 87th
             Legislature enacted House Plan 2316, Senate Plan 2168, and Congressional Plan
             2193 in a third special session. See ECF No. 777 ¶ 3. Two Texas lawmakers then
             sued in state court, contending that the passage of state legislative plans in a special
             session violated Article 3, Section 28 of the Texas Constitution, which requires the
             Texas Legislature to apportion state legislative districts in “the first regular
             session” after publication of the results of the federal Census. Tex. Const. art. 3, §
             28 (emphasis added). See ECF No. 777 ¶ 5. Texas thus argues that the 88th
             Legislature’s intent in adopting the challenged maps was constitutional
             compliance, not discrimination. See ECF No. 794 at 4.
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             See, e.g., ECF No. 788 at 5 (“The Supplemental Complaint adds specific and
             thorough allegations about the 2023 regular session of the 88th Legislature, [ECF
             No.] 777 ¶¶ 7–18, detailing a basis for finding that it acted with discriminatory
             intent[.]”).
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     Maps’s discriminatory intent challenge to House Plan 2316, Senate Plan
     2168, and Congressional Plan 2193. See ECF No. 307 at 54–55. As we wrote
     then, the Fair Maps plaintiffs “make thorough allegations about the
     legislative history of the various plans, including discussions of the plans’
     racial impacts,” and although they “face a heavy evidentiary burden to prove
     discriminatory intent,” their “allegations are sufficient to state a claim.” Id.
     at 54–55. That Fair Maps now challenges HB 1000 and SB 375 and not HP
     2316 and SP 2168 is a distinction without a legally significant difference. The
     plans are the same, and Fair Maps plausibly alleges that the 88th Legislature
     adopted the rationale of the 87th. See ECF No. 777 ¶ 20.
             Although we once again “acknowledge that Plaintiffs face a difficult
     task in overcoming the presumption of legislative good faith and proving
     discriminatory intent, . . . that does not itself make their allegations
     implausible.” ECF No. 307 at 55. Texas’s motion to dismiss Fair Maps’
     discriminatory intent claim is denied.
                                *       *        *       *       *
             To sum up: We deny Texas’s motion to dismiss most of Bacy’s
     Section 2 claims; we grant only Texas’s motion to dismiss Bacy’s Tarrant
     County House District claim. We dismiss that claim without prejudice. We
     also grant Texas’s motion to dismiss all Fair Maps’s discriminatory effect
     claims. We dismiss those claims without prejudice as well.25 We deny
     Texas’s motion to dismiss Fair Maps’s discriminatory intent claim. Finally,
     we grant leave to Bacy and Fair Maps to amend the entirety of their
     Complaints to heed the standard announced in Petteway.
             Accordingly, the Court ORDERS that Texas’s motions to dismiss
     Bacy’s and Fair Maps’s respective Supplemental Complaints, see ECF
     No. 779; ECF No. 785, are GRANTED IN PART and DENIED IN

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             “[F]ive considerations” guide our decision “whether to grant a party leave to
             amend a complaint: 1) undue delay, 2) bad faith or dilatory motive, 3) repeated
             failure to cure deficiencies by previous amendments, 4) undue prejudice to the
             opposing party, and 5) futility of the amendment. Absent any of these factors, the
             leave sought should be freely given.” Smith v. EMC Corp., 393 F.3d 590, 595 (5th
             Cir. 2004) (cleaned up). None of those factors is present here.
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     PART. The Court GRANTS LEAVE to Fair Maps and Bacy to amend
     their Complaints pursuant to Fed. R. Civ. P. 15(a)(2). The Court
     ORDERS Bacy and Fair Maps to file their amended Complaints by
     Monday, March 3, 2025.
              So ORDERED and SIGNED this 21st day of February 2025.


                                         _________________________
                                       JERRY E. SMITH
                                       UNITED STATES CIRCUIT JUDGE


     And on behalf of:

             Jeffrey V. Brown
        United States District Judge
        Southern District of Texas




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